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     Federal Defender
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 5
     Attorney for Defendant
 6   SAMNEUK BUNMA
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. 1:06-cr-00313 LJO
                                           )
12                     Plaintiff,          )             STIPULATION TO CONTINUE SENTENCING
                                           )             AND
13         v.                              )             ORDER THEREON
                                           )
14   SAMNEUK BUNMA, et al.,                )             Date:     August 21, 2009
                                           )             Time:     9:00 a.m.
15                     Defendants.         )             Judge:    Hon. Lawrence J. O’Neill
                                           )
16   _____________________________________ )
17            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney, and ERIC V. KERSTEN,
19   Assistant Federal Defender, counsel for Defendant Samneuk Bunma, that the date for sentencing may be
20   continued to August 21, 2009, or the soonest date thereafter that is convenient to the court. The date
21   currently set for sentencing is June 5, 2009. The requested new date is August 21, 2009.
22            Mr. Bunma is out of custody. He and several co-defendants were charged with conspiracy to
23   distribute marijuana in a multi-defendant indictment. Some defendants have entered plea agreements but
24   others are set for trial. A trial confirmation hearing is set for August 14, 2009. Mr. Bunma has entered a
25   plea agreement and is awaiting sentencing. However, depending upon the decisions of the co-defendants
26   who are set for trial, it may be necessary for Mr. Bunma to complete additional tasks prior to sentencing in
27   order to comply with his possible obligations under the plea agreement. For this reason, it is requested
28   that Mr. Bunma’s sentencing be continued until a date after the trial confirmation hearing of his co-
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 1   defendants.
 2             The parties agree that the delay resulting from the continuance shall be excluded as necessary for
 3   effective defense preparation, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv). For this reason, the ends of
 4   justice served by the granting of the requested continuance outweigh the interests of the public and the
 5   defendants in a speedy trial.
 6
 7                                                            LAWRENCE G. BROWN
                                                              Acting United States Attorney
 8
 9             DATED: June 4, 2009                         By /s/ KATHLEEN A. SERVATIUS
                                                              KATHLEEN A. SERVATIUS
10                                                            Assistant United States Attorney
                                                              Attorney for Plaintiff
11
12
13                                                            DANIEL J. BRODERICK
                                                              Federal Defender
14
15             DATED: June 4, 2009                         By /s/ Eric V. Kersten
                                                             ERIC V. KERSTEN
16                                                           Assistant Federal Defender
                                                             Attorney for Defendant
17                                                           Samneuk Bunma
18
19
20                                                         ORDER
21             IT IS SO ORDERED. The intervening period of delay is excluded in the interests of justice
22   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
23   IT IS SO ORDERED.
24   Dated:      June 4, 2009                              /s/ Lawrence J. O'Neill
     b9ed48                                            UNITED STATES DISTRICT JUDGE
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     Bunma: Stipulation to Continue Sentencing and Order      2
